Case 19-11500   Doc 109   Filed 12/03/20   Page 1 of 10
Case 19-11500   Doc 109   Filed 12/03/20   Page 2 of 10
Case 19-11500   Doc 109   Filed 12/03/20   Page 3 of 10
Case 19-11500   Doc 109   Filed 12/03/20   Page 4 of 10
Case 19-11500   Doc 109   Filed 12/03/20   Page 5 of 10
Case 19-11500   Doc 109   Filed 12/03/20   Page 6 of 10
Case 19-11500   Doc 109   Filed 12/03/20   Page 7 of 10
Case 19-11500   Doc 109   Filed 12/03/20   Page 8 of 10
Case 19-11500   Doc 109   Filed 12/03/20   Page 9 of 10
Case 19-11500   Doc 109   Filed 12/03/20   Page 10 of 10
